Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 1 of 9 Page ID #:2157



  1
  2
  3
  4
  5
  6
  7
  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
10
11     JAMES SHAYLER,                              Case No. CV 20-01882 RAO
12                       Plaintiff,                ORDER GRANTING IN PART
                                                   PLAINTIFF’S MOTION FOR
13           v.                                    ATTORNEY’S FEES PURSUANT
                                                   TO 42 U.S.C. § 12205 OF THE
14     EHAB S. YACOUB; LORINE A.                   AMERICANS WITH
       MIKHAEIL,                                   DISABILITIES ACT
15
                         Defendants.
16
17
            Before the Court is a Motion for Attorney’s Fees (“Motion”) filed by Plaintiff
18
      pursuant to 42 U.S.C. § 12205 of the Americans with Disabilities Act (“ADA”). Dkt.
19
      No. 85. For the reasons stated below, the Court GRANTS in part Plaintiff’s Motion.
20
      I.    BACKGROUND
21
            In February 2020, Plaintiff filed a complaint against Ehab Yacoub and Lorine
22
      Mikhaeil, alleging violations of the ADA and California’s Unruh Civil Rights Act
23
      (“Unruh Act”). Dkt. No. 1. On October 26, 2020, the Court order that Plaintiff’s
24
      First Amended Complaint (“FAC”) be filed. Dkt. Nos. 43, 44. In the FAC, Plaintiff
25
      alleged that he had encountered numerous barriers in attempting to access
26
      Defendants’ business, Fresh Pita Express, and that Defendants’ failure to remove
27
      these barriers constituted violations of the ADA and Unruh Act. Dkt. No. 44.
28
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 2 of 9 Page ID #:2158



  1   Plaintiff sought injunctive relief under the ADA, statutory damages under the Unruh
  2   Act, and attorney’s fees and costs under the Unruh Act and the ADA. Id. at 29.
  3         Prior to filing his first motion for summary judgment, Plaintiff propounded
  4   extensive discovery requests and moved to compel further responses to those
  5   requests, which the Court granted. Dkt. Nos. 32, 46. Thereafter, on March 17, 2021,
  6   Plaintiff moved for summary judgment, which motion the Court denied on the ground
  7   that Plaintiff had not met his initial burden of plausibly showing that the removal of
  8   the identified barriers was “readily achievable.” Dkt. Nos. 48, 55 at 9.
  9         On May 5, 2021, Plaintiff filed a second motion for summary judgment. Dkt.
10    No. 56. On August 31, 2021, the Court granted the summary judgment motion, found
11    Defendants liable for $20,000 in damages, and ordered specific remediations to be
12    carried out by Defendants. Dkt. No. 81.
13          On September 9, 2021, Defendants filed a motion to vacate the Court’s order
14    granting summary judgment on the ground that newly-discovered evidence, in the
15    form of video footage and screen captures of that footage, cast doubt on Plaintiff’s
16    alleged disability. Dkt. No. 83. On September 22, 2021, Plaintiff filed an opposition
17    to Defendants’ motion to vacate. Dkt. No. 86.
18          On October 8, 2021, the Court denied Defendants’ motion to vacate, finding
19    that Defendants had failed to demonstrate due diligence in that they had never
20    attempted to challenge Plaintiff’s allegations of disability prior to filing their motion
21    to vacate and, moreover, failed to show that the newly-discovered evidence would
22    have been likely to change the disposition of the case or established fraud or
23    misrepresentation by Plaintiff. Dkt. No. 94.
24          Meanwhile, on September 14, 2021, Plaintiff filed the instant Motion, in which
25    he requests $37,460 in reasonable attorney’s fees and $5,414 in litigation expenses
26    pursuant to 42 U.S.C. § 12205 and California Civil Code § 52(a). Dkt. No. 85.
27    Plaintiff noticed a hearing date of October 13, 2021. Id.
28
                                                 2
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 3 of 9 Page ID #:2159



  1         On September 30, 2021, Defendants filed an opposition to the Motion, in
  2   which they contended that the fees amount sought was excessive and that the request
  3   for fees was premature while their motion to vacate was pending and no final
  4   judgment had been entered. Dkt. No. 88. On October 6, 2021, Plaintiff filed a reply
  5   in support of the Motion. Dkt. No. 92. On the same day, October 6, 2021, Defendants
  6   moved to continue the hearing date on the Motion on the ground that their motion to
  7   vacate was pending. Dkt. No. 90.
  8         After the Court denied Defendants’ motion to vacate, on October 11, 2021,
  9   two days before the noticed hearing on the fees Motion and without seeking leave to
10    do so, Defendants filed an “amended” opposition to the Motion and a supporting
11    declaration by counsel. Dkt. Nos. 95, 96. On October 12, 2021, the Court vacated
12    the October 13, 2021 hearing and took the Motion under submission. Dkt. No. 97.
13          On October 13, 2021, Plaintiff filed a request to strike Defendants’ amended
14    opposition on the ground that it was untimely. Dkt. No. 98.1 On October 14, 2021,
15    Defendants filed a declaration by counsel, seemingly in opposition to Plaintiff’s
16    motion to strike. Dkt. No. 99.2
17    II.   LEGAL STANDARD
18          Under the ADA, prevailing parties are entitled to recoup reasonable
19    attorney’s fees. 42 U.S.C. § 12205. Further, the Unruh Act provides that a plaintiff
20    subjected to discrimination is entitled to “any attorney’s fees that may be
21    determined by the court[.]” Cal. Civ. Code § 52(a).
22          In the Ninth Circuit, reasonable attorney’s fees are determined by means of
23    the lodestar method, by which the number of hours reasonably expended on the
24
      1
25      In his motion to strike, Plaintiff also noted that his previous request for sanctions
      set forth in his motion to compel remained pending. Dkt. No. 98 at 5 n.2. That
26    request will be addressed by a separate order.
      2
27      The Court has read and considered Defendant’s amended opposition but for the
      reasons given below has not relied upon it in assessing the reasonableness of
28    Plaintiff’s fees request. As such, Plaintiff’s request to strike is DENIED as moot.
                                                3
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 4 of 9 Page ID #:2160



  1   litigation is multiplied by a reasonable hourly rate. See Vogel v. Harbor Plaza Ctr.,
  2   LLC, 893 F.3d 1152, 1158 (9th Cir. 2018). Ultimately, the district court has
  3   discretion in determining a reasonable fee in accordance with established principles.
  4   Id.
  5         In determining hours reasonably expended, a district court should exclude
  6   from the fee request hours that are “excessive, redundant, or otherwise
  7   unnecessary.” Hensley v. Eckerhart, 461 U.S. 424, 434, 103 S. Ct. 1933, 76 L.
  8   Ed.2d 40 (1983). “Cases may be overstaffed, and the skill and experience of
  9   lawyers vary widely.” Id.
10          When determining a reasonably hourly rate, courts should “compensate
11    counsel at the prevailing rate in the community for similar work.” Vogel, 893 F.3d
12    at 1158. Notably, “[t]he district court must strike a balance between granting
13    sufficient fees to attract qualified counsel to civil rights cases and avoiding a
14    windfall to counsel.” Id. (quoting Moreno v. City of Sacramento, 534 F.3d 1106,
15    1111 (9th Cir. 2008)). “It remains important, however, for the district court to
16    provide a concise but clear explanation of its reasons for the fee award.” Hensley,
17    461 U.S. at 437.
18    II.   DISCUSSION
19          A.     Plaintiff’s Motion for Attorney’s Fees and Costs is Ripe
20          As an initial matter, Defendants argue that Plaintiff’s Motion was prematurely
21    filed because the Court had not yet ruled on their motion to vacate and, therefore, no
22    judgment had been entered. Dkt. No. 88 at 6. Defendants’ argument is rejected.
23          Although Rule 54 (d)(2)(B)(i) of the Federal Rules of Civil Procedure states
24    that a motion for attorney’s fees must “be filed no later than 14 days after the entry
25    of judgment,” the Court entered final judgment on April 29, 2022, awarding statutory
26    damages and injunctive relief. Dkt. No. 106. As such, any timing defect has been
27    cured. See, e.g., Signature Fin., LLC v. McClung, 2018 WL 6843050 at 1 n.1 (C.D.
28    Cal. Aug. 13, 2018) (“The issuance of the Partial Judgment cured any defect from
                                                 4
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 5 of 9 Page ID #:2161



  1   Plaintiff's pre-judgment filing.”).
  2         B.     Attorney’s Fees
  3         It is undisputed that Plaintiff is the prevailing party. Thus, the Court will
  4   proceed to determine what constitutes reasonable attorney’s fees.
  5         i. Reasonable Hourly Rates
  6         Plaintiff’s lead counsel, Mr. Hakimi and Mr. Shahriari, request an hourly rate
  7   of $495. They represent that they have been in practice since 2003 and 2002,
  8   respectively, and have extensive knowledge and experience litigating ADA cases “as
  9   reflected in the public record.” Dkt. No. 85-2, Hakimi Decl. at ¶¶ 15, 16. In support
10    of their requested hourly rate, Plaintiff’s counsel point to three cases in this district,
11    in which their requested rate has been approved. Dkt. No. 85-1 at 7 (citing Shayler
12    v. 450 E. Manchester Blvd., LLC et al., Case No. 2:19-cv-10171 (C. D. Cal. July 6,
13    2020); Berry v. L.S. Prop. Mgmt. LLC, et al., Case No. 2:20-cv-549 (C.D. Cal. Apr.
14    30, 2020); and Walker v. Politis, et al., Case No. 2:21-cv-1897 (C.D. Cal. Aug. 18,
15    2021)).
16          The Court finds these decisions instructive, but not compelling. In 450
17    Manchester, the case was dismissed after the parties reached a settlement and the fee
18    award was not detailed. See Case No. 2:19-cv-10171, Dkt. No. 22. In Berry, the
19    court awarded fees after the plaintiff obtained a default judgment. See Case No.
20    2:20-cv-549, Dkt. No. 17 at 9. Similarly, in Walker, the court granted a default
21    judgment and awarded fees based on an uncontested fee motion. See Case No. 2:21-
22    cv-1897, Dkt. No. 23 at 1.
23          Notably, two other recent decisions in this district came to a different
24    conclusion regarding a reasonable hourly rate for Mr. Hakimi and Mr. Shahriari. In
25    both Shayler v. B-K Inglewood Prop., LLC, et al., Case No. 2:20-cv-9172 (C.D. Cal.
26    Aug. 30, 2021), and Ed Hull v. Roberts, Case No. 2:21-cv-896 (C.D. Cal. Aug. 27,
27    2021), the court conducted a reasonableness analysis and concluded that $425, rather
28    than $495, was a reasonable rate for attorneys with Mr. Hakimi’s and Mr. Shahriari’s
                                                  5
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 6 of 9 Page ID #:2162



  1   “years in practice to charge for litigating formulaic cases of this nature.” Hull, Case
  2   No. 2:21-cv-896, Dkt. No. 24 at 2; see also B-K Inglewood, Case No. 2:20-cv-9172,
  3   Dkt. No. 38 at 2. The Court finds these decisions well-reasoned and persuasive and
  4   concludes that $425 per hour is a reasonable hourly rate for Mr. Hakimi and Mr.
  5   Shahriari.
  6         Plaintiff requests hourly rates of $425 for associate attorney Ms. Steven and
  7   $295 for associate attorney Mr. Wilson. Dkt. Nos. 85-1 at 9; 85-2 at ¶¶ 17, 18.
  8   Plaintiff contends that these rates, along with the requested rates for Mr. Hakimi and
  9   Mr. Shahriari, are “arguably below market” when examined in light of the 2018 Real
10    Rate Report, an indicator of attorney hourly rates in various markets. Dkt. No. 85-1
11    at 8-9. Once again, the Court founds the decisions in Hull and B-K Inglewood
12    persuasive. In those cases, the court determined that $325 per hour was a reasonable
13    rate for Ms. Steven, and $250 per hour a reasonable rate for Mr. Wilson, in light of
14    the court’s “considerable experience” with awarding attorney’s fees in ADA cases.
15    B-K Inglewood Prop., Case No. 2:20-cv-9172, Dkt. No. 38 at 2; see also Hull, Case
16    No. 2:21-cv-896, Dkt. No. 24 at 2. The Court agrees and concludes that a reasonable
17    hourly rate is $325 for Ms. Steven and $250 for Mr. Wilson.
18          ii. Reasonable Hours Expended
19          Counsel assert that they spent a total of 83.3 billable hours on this case by the
20    time the instant Motion was filed. Dkt. No. 85-2, Hakimi Decl., at ¶ 14.
21    Defendants counter that the fees award should be reduced because the hours
22    requested are excessive, redundant, or otherwise unnecessary. Dkt. No. 88 at 4.
23          The Court agrees with Defendants to the extent that the complaint in the case
24    at bar appears to contain several boilerplate sections. Notably, Plaintiff,
25    represented by the same counsel, initiated two other complaints in this district on
26    the same day as the instant case with similar, if not identical, allegations. Compare
27    Shayler v. Kaufman, Case No. 2:20-cv-1881 (C.D. Cal. Feb. 26, 2020), Dkt. No. 1
28    (entitled “Complaint for Violation of: American’s [sic] with Disabilities Act of
                                                 6
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 7 of 9 Page ID #:2163



  1   1990, 42 U.S.C. §12181 et seq.; Unruh Civil Rights Act, California Code §51 et
  2   seq.”); with Shayler v. Pontius Auto. LLC, Case No. 2:20-cv-1872 (C.D. Cal. Feb.
  3   26, 2020), Dkt. No. 1 (entitled “Complaint for Violation of: American’s [sic] with
  4   Disabilities Act of 1990, 42 U.S.C. §12181 et seq.; Unruh Civil Rights Act,
  5   California Code §51 et seq.”). The Court notes that these three complaints, filed on
  6   the same day, contain various identical errors that suggest they were copied and
  7   pasted in part from a single source. As such, the Court finds that part of the 4.9
  8   hours billed by Mr. Shahriari on February 19 and February 26, 2020, which are
  9   attributed to preparing and finalizing the complaint, as well as part of the 1.1 hours
10    billed by Mr. Hakimi on February 21, 2020, which are attributed to reviewing the
11    complaint, Dkt. No. 85-7 at 3-4, are excessive and, thus, unreasonable. The Court
12    will reduce Mr. Shahriari’s time for drafting the complaint from 4.9 hours to 3.0
13    hours and Mr. Hakimi’s time for drafting the complaint from 1.1 hours to 0.6 hours.
14          Defendants also contest the reasonableness of time billed by Plaintiff’s
15    counsel in connection with the July 2020 settlement conference. Dkt. No. 88 at 5.
16    Mr. Shahriari billed 1.5 hours for preparing a fourteen-page settlement conference
17    memorandum and an additional 0.6 hours for “reviewing the file in preparation for
18    attending the settlement conference” four days later. Dkt. No. 85-7 at 4. The Court
19    finds that this billing is mildly excessive, given that counsel must have reviewed the
20    file first in order to prepare the settlement conference memorandum. Therefore, the
21    Court will reduce Mr. Shahriari’s 0.6 hours for reviewing the file to 0.2 hours.
22          Plaintiff’s counsel billed 1.9 hours for drafting the instant Motion. Dkt. No.
23    85-7 at 9. Because the Motion appears quite similar to other motions for attorney’s
24    fees recently filed by Counsel, see, e.g., Walker, Case No. 2:21-cv-1897 (C.D. Cal.
25    July 30, 2021), Dkt. No. 23; Hull, Case No. 2:21-cv-896 (C.D. Cal. July 29, 2021),
26    Dkt. No. 22, the Court finds the billed time to be excessive and reduces Ms.
27    Steven’s time for drafting the instant Motion from 1.9 hours to 0.9 hours.
28
                                                 7
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 8 of 9 Page ID #:2164



  1         In their amended opposition to the instant Motion, Defendants raise two new
  2   objections. First, Defendants claim Plaintiff’s Exhibit 4, the Billing Statement, is
  3   hearsay. Second, Defendants contend that Plaintiff’s counsel have engaged in
  4   block billing. Dkt. No. 95 at 6-9.
  5         Defendants’ objections are meritless and, thus, overruled. First, Mr.
  6   Hakimi’s declaration, Dkt. No. 85-2, is sufficient to authenticate the document for
  7   the Court’s consideration. Second, Defendants have failed to show that Plaintiff’s
  8   counsel has engaged in inappropriate block billing.
  9         iii. Calculation of Reasonable Attorney’s Fees
10          Based on the rates and hours discussed above and outlined below, the Court
11    awards Plaintiff $29,167.50 in reasonable attorneys’ fees, calculated as follows:
12          Mr. Hakimi requests an award of fees for 20.9 billed hours at a rate of $495
13    per hour. The Court grants 20.4 hours at a rate of $425 for a total of $8,670. Mr.
14    Shahriari requests 20.3 hours at a rate of $495 per hour. The Court grants 18 hours
15    at a rate of $425 per hour for a total of $7,650. Ms. Steven requests 34.3 hours at a
16    rate of $425 per hour. The Court grants 33.3 hours at a rate of $325 per hour for a
17    total of $10,822.50. Mr. Wilson requests 8.1 hours at a rate of $295 per hour. The
18    Court grants 8.1 hours at a rate of $250 per hour for a total of $2,025.
19          C.       Litigation Expenses
20          Plaintiff requests $5,414.00 in litigation expenses associated with the Court
21    filing fee, service of process, deposition services, and the investigator’s fees.
22    Plaintiff has provided invoices for these expenses. See Dkt. Nos. 85-2, Hakimi
23    Decl. ¶¶ 4, 9, 12; 85-4, 85-5, 85-6. Defendants have not challenged the request.
24    Therefore, the Court awards Plaintiffs $5,414.00 in litigation expenses. See 42
25    U.S.C. § 12205; Lovell v. Chandler, 303 F.3d 1039, 1058 (9th Cir. 2002)
26    (“Congress included the term ‘litigation expenses’ in order to authorize a court to
27    shift costs such as expert witness fees, travel expenses, and the preparation of
28    exhibits.”).
                                                 8
Case 2:20-cv-01882-RAO Document 107 Filed 04/29/22 Page 9 of 9 Page ID #:2165



  1   III.     CONCLUSION
  2            Consistent with the foregoing, IT IS ORDERED that Counsel’s motion for
  3   attorney’s fees is GRANTED in part. The Court awards attorney’s fees in the
  4   amount of $29,167.50 and costs in the amount of $5,414.00, pursuant to 42 U.S.C.
  5   § 12205, and California Civil Code § 52(a), for a total award of $34,581.50.
  6   Defendants shall pay the fees and costs within thirty (30) days after the entry of this
  7   order.
  8
  9   DATED: April 29, 2022
10
                                             ROZELLA A. OLIVER
11                                           UNITED STATES MAGISTRATE JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                9
